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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION

LEWIS SMITHER,

        Plaintiff,

v.                                                                Case No: 8:20-cv-2528-T-60SPF

MONSANTO COMPANY,

        Defendant.

                                RELATED CASE ORDER,
                             INTERESTED PERSONS ORDER,
                         ORDER REQUIRING ELECTRONIC FILING,
                          AND NOTICE OF TRACK DESIGNATION

        RELATED CASE ORDER:                    No later than 15 days from the date of this Order,

counsel and any pro se party shall comply with Local Rule 1.04(d) and shall file and serve a

certification as to whether the instant action should be designated as a similar or successive case

pursuant to Local Rule 1.04(a) or (b). The parties shall utilize the attached form NOTICE OF

PENDENCY OF OTHER ACTIONS.

       INTERESTED PERSONS ORDER:                      This Court makes an active effort to screen

every case in order to identify parties and interested corporations in which any assigned judge may

be a shareholder, as well as for other matters that might require consideration of recusal.

        Accordingly, no later than 15 days from the date of this Order, each party, pro se party,

governmental party, intervenor, non-party movant, and Rule 69 garnishee shall file and serve a

CERTIFICATE OF INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT utilizing the

attached form.

        No party may seek discovery from any source before filing and serving a CERTIFICATE OF

INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT. A motion, memorandum,
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         response, or other paper — including emergency motion — may be denied or stricken unless the

         filing party has previously filed and served its CERTIFICATE OF INTERESTED PERSONS AND

         CORPORATE DISCLOSURE STATEMENT.

                Each party has a continuing obligation to file and serve an amended CERTIFICATE OF

         INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT within eleven days of 1)

         discovering any ground for amendment, including notice of case reassignment to a different

         judicial officer; or 2) discovering any ground for recusal or disqualification of a judicial officer. A

         party should not routinely list an assigned district judge or magistrate judge as an “interested

         person” absent some non-judicial interest.

                In order to assist the Court in determining when a conflict of interest may exist, particularly

         when ruling on matters formally assigned to another judge, each party shall use the full caption of

         the case — including the names of all parties and intervenors — on all motions, memoranda,

         papers, and proposed orders submitted to the Clerk. See Fed.R.Civ.P. 10(a); Local Rule 1.05(b)

         (“et al.” discouraged).

                NOTICE OF TRACK TWO DESIGNATION:                        In accordance with Local Rule 3.05,

         this action is designated a Track Two case. All parties must comply with the requirements

         established in Local Rule 3.05 for Track Two cases. Counsel and any unrepresented party shall

         meet within sixty days after service of the complaint upon any defendant, or the first

         appearance of any defendant, for the purpose of preparing and filing a Case Management

         Report. The parties shall utilize the attached Case Management Report form. Unless otherwise

         ordered by the Court, a party may not seek discovery from any source before the meeting. Fed. R.

         Civ. P. 26 (d); Local Rule 3.05(c)(2)(B).


                ORDER REQUIRING ELECTRONIC FILING:                              All    attorneys     appearing

         before this court are required to register for CM/ECF docketing within 15 days of their entry of




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         appearance in any action pending before this Court. Counsel are directed to the website located at

         www.flmd.uscourts.gov under “CM/ECF” where they are to request their password from the

        Court. (NOTE: Pro Se parties are exempt from the electronic filing requirement.)

                DONE AND ORDERED at Tampa, Florida, on November 5, 2020.




                                                           TOM BARBER
                                                           UNITED STATES DISTRICT JUDGE



        Attachments: Notice of Pendency of Other Actions [mandatory form]
                     Certificate of Interested Persons and Corporate Disclosure Statement
                     Case Management Report
                     Magistrate Judge Consent / Letter to Counsel
                     Magistrate Judge Consent Form / Entire Case
                     Magistrate Judge Consent Form/Specified Motions

        Copies to:      All Counsel of Record
                        All Pro Se Parties




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                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

LEWIS SMITHER,

     Plaintiff,

v.                                                               Case No: 8:20-cv-2528-T-60SPF

MONSANTO COMPANY,

     Defendant.



                     NOTICE OF PENDENCY OF OTHER ACTIONS
               In accordance with Local Rule 1.04(d), I certify that the instant action:

      _____ IS                related to pending or closed civil or criminal case(s)
                              previously filed in this Court, or any other Federal or State
                              court, or administrative agency as indicated below:
                              _____________________________________________________
                              _____________________________________________________
                              _____________________________________________________
                              _____________________________________________________

      _____ IS NOT            related to any pending or closed civil or criminal case filed
                              with this Court, or any other Federal or State court, or
                              administrative agency.

             I further certify that I will serve a copy of this NOTICE OF PENDENCY OF
      OTHER ACTIONS upon each party no later than fourteen days after appearance of
      the party.


      Dated:




      _____________________________
      Counsel of Record or Pro Se Party
           [Address and Telephone]
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                            CERTIFICATE OF INTERESTED PERSONS
                        AND CORPORATE DISCLOSURE STATEMENT

                     I hereby disclose the following pursuant to this Court’s interested persons
         order:

         1.)     the name of each person, attorney, association of persons, firm,
         law firm, partnership, and corporation that has or may have an interest
         in the outcome of this action
         — including subsidiaries, conglomerates, affiliates, parent corporations,
         publicly-traded companies that own 10% or more of a party’s stock, and
         all other identifiable legal entities related to any party in the case:

                              [insert list]

         2.)     the name of every other entity whose publicly-traded stock,
         equity, or debt may be substantially affected by the outcome of the
         proceedings:

                              [insert list]

         3.)     the name of every other entity which is likely to be an active
         participant in the proceedings, including the debtor and members of
         the creditors’ committee (or twenty largest unsecured creditors) in
         bankruptcy cases:

                              [insert list]

         4.)    the name of each victim (individual or corporate) of civil and
         criminal conduct alleged to be wrongful, including every person
         who may be entitled to restitution:

                              [insert list]

                 I hereby certify that, except as disclosed above, I am unaware
         of any actual or potential conflict of interest involving the district
         judge and magistrate judge assigned to this case and will immediately
         notify the Court in writing on learning of any such conflict.
       [Date]


       [Certificate of Service]
                                     [Counsel of Record or Pro Se Party]
                                     [Address and Telephone]
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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

LEWIS SMITHER,

      Plaintiff,

v.                                                    Case No: 8:20-cv-2528-T-60SPF

MONSANTO COMPANY,

      Defendant.


                           CASE MANAGEMENT REPORT
      The parties have agreed on the following dates and discovery plan pursuant

to Fed.R.Civ.P. 26(f) and Local Rule 3.0(c):


                   DEADLINE OR EVENT                          AGREED DATE
Mandatory Initial Disclosures (pursuant to Fed.R.Civ.P.
26(a)(1))
[Court recommends 30 days after CMR meeting]
Certificate of Interested Persons and Corporate
Disclosure Statement
[Each party who has not previously filed must file
immediately]
Motions to Add Parties or to Amend Pleadings
[Court recommends 1 - 2 months after CMR meeting]
Disclosure of Expert Reports

Plaintiff:

Defendant:
[Court recommends 1 - 2 months before discovery
deadline to allow expert depositions]
Discovery Deadline
[Court recommends 6 months before trial to allow time for
dispositive motions to be filed and decided; all discovery
must be commenced in time to be completed before this
date]
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                   DEADLINE OR EVENT                            AGREED DATE
Dispositive Motions, Daubert, and Markman Motions
[Court requires 5 months or more before trial term
begins]
Meeting In Person to Prepare Joint Final Pretrial
Statement
[10 days before Joint Final Pretrial Statement]
Joint Final Pretrial Statement (Including a Single Set of
Jointly-Proposed Jury Instructions and Verdict Form
(with diskette), Voir Dire Questions, Witness Lists,
Exhibit Lists with Objections on Approved Form)
[Court recommends 6 weeks before Trial]
All Other Motions Including Motions In Limine [Court
recommends 1 weeks before Final Pre-trial Conference]
Final Pretrial Conference [As needed, the Court will set a
date that is approximately 4 weeks before trial]
Trial Briefs [Court recommends 2 weeks before Trial]
Trial Term Begins
[Local Rule 3.05 (c)(2)(E) sets goal of trial within 2 years
of filing complaint in all Track Two cases; trial term must
not be less than 4 months after dispositive motions
deadline (unless filing of such motions is waived); district
judge trial terms typically begin on Monday preceding the
1st day of the month; trials before magistrate judges will
be set on a date certain after consultation with the parties]
Estimated Length of Trial [trial days]
Jury / Non-Jury
Mediation
Deadline:

Mediator:
Address:


Telephone:

[Absent arbitration, mediation is mandatory; Court
recommends either 2 - 3 months after CMR meeting, or
just after discovery deadline]
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                 DEADLINE OR EVENT                                            AGREED DATE
All Parties Consent to Proceed Before Magistrate Judge                               Yes____
                                                                                      No____

                                                                               Likely to Agree in
                                                                                    Future _____




I.     Meeting of Parties in Person

       Lead counsel must meet in person and not by telephone absent an order permitting

otherwise. Counsel will meet in the Middle District of Florida, unless counsel agree on a

different location. Pursuant to Local Rule 3.05(c)(2)(B) or (c)(3)(A), 1 a meeting was held in

person on ___________________ (date) at                  (time)   at                       (place)   and was

attended by:

                Name                                         Counsel for (if applicable)




II.    Pre-Discovery Initial Disclosures of Core Information

       Fed.R.Civ.P. 26(a)(1)(A) - (D) Disclosures

       Fed.R.Civ.P. 26, as amended effective December 1, 2000, provides that these disclosures

are mandatory in Track Two and Track Three cases, except as stipulated by the parties or

otherwise ordered by the Court (the amendment to Rule 26 supersedes Middle District of Florida

Local Rule 3.05, to the extend that Rule 3.05 opts out of the mandatory discovery requirements):



       1
           A copy of the Local Rules may be viewed at http://www.flmd.uscourts.gov.
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          The parties ____ have exchanged ____ agree to exchange (check one)

          information described in Fed.R.Civ.P. 26(a)(1)(A)(i)- (iv)   (check one)

                 on              by                              (date).

          Below is a description of information disclosed or scheduled for disclosure, including

electronically stored information as further described in Section III below.



III.      Electronic Discovery

          The parties have discussed issues relating to disclosure or discovery of electronically

stored information (AESI@), including Pre-Discovery Initial Disclosures of Core Information in

Section II above, and agree that (check one):

          ___ No party anticipates the disclosure or discovery of ESI in this case;

          ___ One or more of the parties anticipate the disclosure or discovery of ESI in this case.

If disclosure or discovery of ESI is sought by any party from another party, then the following

issues shall be discussed: 2

          A. The form or forms in which ESI should be produced.

          B. Nature and extent of the contemplated ESI disclosure and discovery, including

specification of the topics for such discovery and the time period for which discovery will be

sought.

          C. Whether the production of metadata is sought for any type of ESI, and if so, what

types of metadata.




          2
         See Generally: Rules Advisory Committee Notes to the 2006 Amendments to Rule 26
(f) and Rule 16.
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       D. The various sources of ESI within a party=s control that should be searched for ESI,

and whether either party has relevant ESI that it contends is not reasonably accessible under Rule

26(b)(2)(B), and if so, the estimated burden or costs of retrieving and reviewing that information.

       E. The characteristics of the party=s information systems that may contain relevant ESI,

including, where appropriate, the identity of individuals with special knowledge of a party=s

computer systems.

       F. Any issues relating to preservation of discoverable ESI.

       G. Assertions of privilege or of protection as trial-preparation materials, including

whether the parties can facilitate discovery by agreeing on procedures and, if appropriate, an

Order under the Federal Rules of Evidence Rule 502. If the parties agree that a protective order

is needed, they shall attach a copy of the proposed order to the Case Management Report. The

parties should attempt to agree on protocols that minimize the risk of waiver. Any protective

order shall comply with Local Rule 1.09 and Section IV. F. below on Confidentiality

Agreements.

       H. Whether the discovery of ESI should be conducted in phases, limited, or focused

upon particular issues.

Please state if there are any areas of disagreement on these issues and, if so, summarize the

parties= position on each: _____________________________________________ __________

______________________________________________________________________________

If there are disputed issues specified above, or elsewhere in this report, then (check one):
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       ___ One or more of the parties requests that a preliminary pre-trial conference under Rule

16 be scheduled to discuss these issues and explore possible resolutions. Although this will be a

non-evidentiary hearing, if technical ESI issues are to be addressed, the parties are encouraged to

have their information technology experts with them at the hearing.

       If a preliminary pre-trial conference is requested, a motion shall also be filed

pursuant to Rule 16(a), Fed. R. Civ. P.

       ___ All parties agree that a hearing is not needed at this time because they expect to be

able to promptly resolve these disputes without assistance of the Court.



IV.    Agreed Discovery Plan for Plaintiffs and Defendants

       A.      Certificate of Interested Persons and Corporate Disclosure Statement C

       This Court has previously ordered each party, governmental party, intervenor, non-party

movant, and Rule 69 garnishee to file and serve a Certificate of Interested Persons and Corporate

Disclosure Statement using a mandatory form. No party may seek discovery from any source

before filing and serving a Certificate of Interested Persons and Corporate Disclosure Statement.

A motion, memorandum, response, or other paper C including emergency motion C is subject

to being denied or stricken unless the filing party has previously filed and served its Certificate

of Interested Persons and Corporate Disclosure Statement. Any party who has not already filed

and served the required certificate is required to do so immediately.

       Every party that has appeared in this action to date has filed and served a Certificate of

Interested Persons and Corporate Disclosure Statement, which remains current:

_______ Yes            _______ No Amended Certificate will be filed by

___________________ (party) on or before ____________________ (date).
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       B.      Discovery Not Filed C

       The parties shall not file discovery materials with the Clerk except as provided in Local

Rule 3.03. The Court encourages the exchange of discovery requests on diskette. See Local Rule

3.03 (f). The parties further agree as follows:




       C.      Limits on Discovery C

       Absent leave of Court, the parties may take no more than ten depositions per side (not per

party). Fed.R.Civ.P. 30(a)(2)(A); Fed.R.Civ.P. 31(a)(2)(A); Absent leave of Court, the parties

may serve no more than twenty-five interrogatories, including sub-parts. Fed.R.Civ.P. 33(a);

Absent leave of Court or stipulation of the parties each deposition is limited to one day of seven

hours. Fed.R.Civ.P. 30(d)(2). The parties may agree by stipulation on other limits on discovery.

The Court will consider the parties= agreed dates, deadlines, and other limits in entering the

scheduling order. Fed.R.Civ.P. 29. In addition to the deadlines in the above table, the parties have

agreed to further limit discovery as follows:

                       1.     Depositions



                       2.     Interrogatories



                       3.     Document Requests
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                      4.      Requests to Admit



                      5.      Supplementation of Discovery




       D.      Discovery Deadline C

       Each party shall timely serve discovery requests so that the rules allow for a response prior

to the discovery deadline. The Court may deny as untimely all motions to compel filed after the

discovery deadline. In addition, the parties agree as follows:




       E.      Disclosure of Expert Testimony C

       On or before the dates set forth in the above table for the disclosure of expert reports, the

parties agree to fully comply with Fed.R.Civ.P. 26(a)(2) and 26(e). Expert testimony on direct

examination at trial will be limited to the opinions, basis, reasons, data, and other information

disclosed in the written expert report disclosed pursuant to this order. Failure to disclose such

information may result in the exclusion of all or part of the testimony of the expert witness. The

parties agree on the following additional matters pertaining to the disclosure of expert testimony:
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       F.      Confidentiality Agreements C

       Whether documents filed in a case may be filed under seal is a separate issue from whether

the parties may agree that produced documents are confidential. The Court is a public forum, and

disfavors motions to file under seal. The Court will permit the parties to file documents under seal

only upon a finding of extraordinary circumstances and particularized need. See Brown v.

Advantage Engineering, Inc., 960 F.2d 1013 (11th Cir. 1992); Wilson v. American Motors Corp.,

759 F.2d 1568 (11th Cir. 1985). A party seeking to file a document under seal must file a motion

to file under seal requesting such Court action, together with a memorandum of law in support.

The motion, whether granted or denied, will remain in the public record.

       The parties may reach their own agreement regarding the designation of materials as

Aconfidential.@ There is no need for the Court to endorse the confidentiality agreement. The Court

discourages unnecessary stipulated motions for a protective order. The Court will enforce

appropriate stipulated and signed confidentiality agreements.        See Local Rule 4.15.      Each

confidentiality agreement or order shall provide, or shall be deemed to provide, that Ano party shall

file a document under seal without first having obtained an order granting leave to file under seal

on a showing of particularized need.@ With respect to confidentiality agreements, the parties agree

as follows:




       G.      Other Matters Regarding Discovery C
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V.       Settlement and Alternative Dispute Resolution.

         A.     Settlement C

                        The parties agree that settlement is

                _____ likely ______ unlikely                            (check one)



                The parties request a settlement conference before a United States Magistrate

Judge.

                 yes ______      no________      likely to request in future _______

         B.     Arbitration C

                The Local Rules no longer designate cases for automatic arbitration, but the parties

may elect arbitration in any case. Do the parties agree to arbitrate?

         yes ______              no ______       likely to agree in future ______

         _______ Binding                ________Non-Binding



         C.     Mediation C

         Absent arbitration or a Court order to the contrary, the parties in every case will participate

in Court-annexed mediation as detailed in Chapter Nine of the Court=s Local Rules. The parties

have agreed on a mediator from the Court=s approved list of mediators as set forth in the table

above, and have agreed to the date stated in the table above as the last date for mediation. The list
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of mediators is available from the Clerk, and is posted on the Court=s web site at

http://www.flmd.uscourts.gov.

       D.     Other Alternative Dispute Resolution C

       The parties intend to pursue the following other methods of alternative dispute resolution:




Date: _____________________


Signature of Counsel (with information required by Local Rule 1.05(d)) and Signature of
Unrepresented Parties.


____________________________________                    _________________________________


____________________________________                    _________________________________


____________________________________                    _________________________________


____________________________________                    _________________________________
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                                            UNITED STATES DISTRICT COURT
                                             MIDDLE DISTRICT OF FLORIDA
                                                   TAMPA DIVISION

LEWIS SMITHER,

         Plaintiff,

v.                                                                               Case No: 8:20-cv-2528-T-60SPF

MONSANTO COMPANY,

         Defendant.


     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

          Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may then
be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may exercise this
authority only if all parties voluntarily consent.

         You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise be
involved with your case,

          Consent to a magistrate judge's authority. The following parties consent to have a United States magistrate judge conduct
all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

Printed names of parties and attorneys             Signatures of parties or attorneys                    Dates




                                                      REFERENCE ORDER
          IT IS ORDERED that this case be referred to a UNITED STATES MAGISTRATE JUDGE for all further proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. 636(c), Fed. R. Civ. P. 73.



               DATE                                                            THOMAS P. BARBER
                                                                          UNITED STATES DISTRICT JUDGE

NOTE:    RETURN THIS FORM TO THE CLERK OF COURT ONLY IF YOU ARE CONSENTING TO THE EXERCISE OF JURISDICTION BY A
         UNITED STATES MAGISTRATE JUDGE. DO NOT RETURN THIS FORM TO A JUDGE.




Re v: 4/01
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                                                        UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF FLORIDA
                                                               TAMPA DIVISION

            LEWIS SMITHER,

                     Plaintiff,

            v.                                                                                Case No: 8:20-cv-2528-T-60SPF

            MONSANTO COMPANY,

                     Defendant.


      NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to conduct all proceedings
and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent without adverse substantive
consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise be involved with your
case.

         Consent to a magistrate judge's consideration of a dispositive motion. The following parties consent to have a United States
magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below (identify each motion by
document number and title).

         MOTION(S)                       _____________________________________________

                                         _____________________________________________

Printed names of parties and attorneys                           Signature of parties or attorneys                Date




                                                            REFERENCE ORDER

         IT IS ORDERED: The motions are referred to the United States magistrate judge to conduct all proceedings and enter a final order on the
motions identified above in accordance with 28 U.S.C. ' 636(c).


___________________                                                                            __________________________________________
            Date                                                                                         THOMAS P. BARBER
                                                                                                  UNITED STATES DISTRICT JUDGE

NOTE:     RETURN THIS FORM TO THE CLERK OF COURT ONLY IF YOU ARE CONSENTING TO THE EXERCISE OF JURISDICTION
          BY A UNITED STATES MAGISTRATE JUDGE. DO NOT RETURN THIS FORM TO A JUDGE.




            Re v: 4/01
